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           EXHIBIT B
         Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 2 of 37




                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

    PROTRADENET LLC                                 §
                                                    §
              Plaintiff.                            §
                                                    §           Consolidated
    v.                                              §           Civil Action No. 6:18-CV-38-ADA
                                                    §
    PREDICTIVE PROFILES, INC.                       §
                                                    §
              Defendant.                            §
_____________________________________________________________________________

    PREDICTIVE PROFILES, INC.                        §
                                                     §
              Plaintiff.                             §
                                                     §
    v.                                               §
                                                     §
    PROTRADENET LLC AND DWYER                        §
    FRANCHISING LLC,                                 §
                                                     §
              Defendants.                            §

              DECLARATION OF VICTOR C. JOHNSON ON ATTORNEY’S FEES

        My name is Victor C. Johnson. I am one of the attorneys representing ProTradeNet LLC
and Dwyer Franchising (collectively “Dwyer”), in the above-referenced lawsuit. I have been
practicing law in this jurisdiction for more than 20 years. My practice is dedicated to business
disputes, intellectual property, and other civil litigation, with an emphasis on intellectual
property. I have handled a wide variety of intellectual property litigation cases for both plaintiffs
and defendants, and am familiar with the standards in the Western District of Texas for
reasonable and necessary attorneys’ fees in cases of this nature. I also am familiar with the
appropriate hourly rates for litigation of this type. This case is being handled on an hourly rate
basis.

         1.        The discounted hourly rate of attorneys 1 who have worked on this case are as
                   follows:

                       •   Victor C. Johnson average rate of $545.00 per hour, and worked 154 hours;
                           and


1
    Attorneys’ CVs are attached as Exhibit 1.

DECLARATION OF VICTOR C. JOHNSON ON ATTORNEY’S FEES                                          PAGE 1
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                      •   Amelia H. Marquis average rate of $335.00 per hour and worked .8 hours.

          2.       In my opinion, these rates are reasonable for the case at bar, given the various
                   complexities and issues involved. Moreover, these rates are comparable to the
                   hourly rates of other counsel in this case at comparable levels of experience.

          3.       Dwyer incurred $84,719.04 in attorneys’ fees devoting 154.8 hours of work
                   beginning July 10, 2019. 2 None of those hours would have been necessary without
                   Predictive Profiles, Inc.’s willful infringement, nor would they have been necessary
                   had Predictive Profiles, Inc. abided by the contract and ceased using Dwyer’s
                   trademarks upon termination of the agreement. To add insult to injury, Predictive
                   Profiles, Inc.’s litigation strategy caused Dwyer to incur attorneys’ fees that
                   otherwise would have been unnecessary, including but not limited to, violating the
                   Court’s Preliminary Injunction which required a Motion for Contempt.

          4.       The actual amount billed in legal and professional fees related to legal services in
                   this matter totals $92,696.00. Of that amount, the Dykema firm provided Dwyer
                   with a professional discount totaling $7,976.96. The total amount billed to and
                   payable by Dwyer in this matter is therefore $84,719.04. This is the amount sought
                   as a reasonable fee by the Dykema law firm.

          5.       Dwyer’s attorneys’ fees for this type of case and in response to Predictive Profiles,
                   Inc.’s handling of the case were reasonable and necessary, and Dwyer’s counsel’s
                   hourly rates are customary for intellectual property litigation in Dallas. As the
                   Attorney CV’s (Exhibit 1) detail, the attorneys involved have extensive intellectual
                   property experience, including the lead partner, Victor C. Johnson, who managed
                   the case and proceeding.

          6.       In our billings, we have given significant discounts to Dwyer in order to charge a
                   reasonable rate. The reasonable value for the time worked on this case by lawyers
                   of the law firm of Dykema Gossett PLLC is $84,719.04.

          7.       Assuming the case is appealed to the United States Court of Appeals for the Fifth
                   Circuit, and Dwyer is successful, I estimate that a reasonable and necessary
                   attorneys’ fee to handle such an appeal would be $100,000.00.

          8.       In addition to the opinions expressed above, I am further of the opinion that it would
                   be appropriate for the Court to award attorneys’ fees to Dwyer based upon the
                   factors established in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714,
                   717-19 (5th Cir. 1974), and subsequent cases that have supported this analysis.

          The Johnson factors include:

          (1) the time and labor required; (2) the novelty and difficulty of the questions; (3) the skill
          requisite to perform the legal service properly; (4) the preclusion of other employment by

2
    See Exhibit 2 attached hereto. Exhibit 2 shows each attorney’s time spent and rates.

DECLARATION OF VICTOR C. JOHNSON ON ATTORNEY’S FEES                                              PAGE 2
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         the attorney due to acceptance of the case; (5) the customary fee; (6) whether the fee is
         fixed or contingent; (7) time limitations imposed by the client or the circumstances; (8) the
         amount involved and the results obtained; (9) the experience, reputation, and ability of the
         attorneys; (10) the “undesirability” of the case; (11) the nature and length of the
         professional relationship with the client; and (12) awards in similar cases. See Johnson,
         488 F.2d at 717-9.

         9.        In regard to these factors, the time and labor required is evident from the attorney
                   time records that are included as a part of this declaration. The novelty and
                   difficulty of the questions involved in this case, and the skill required to perform
                   the legal services properly, in my opinion, involve a high level of training and trial
                   experience. In this regard, there was a significant amount of analysis and research
                   related to the novelty of the trademark infringement claim made by Dwyer and the
                   various causes of action and defenses.

         10.       Based upon the aforementioned Johnson factors, I believe that it is appropriate for
                   the Court to award attorneys’ fees based upon the time spent and hourly rates
                   discussed above.

         11.       In connection with my opinions, I have also considered the following factors, some
                   of which are included in Rule 1.04 of the Texas Disciplinary Rules of Professional
                   Conduct: (i) the time and labor involved; (ii) the novelty and difficulty of the
                   questions involved; (iii) the skill requisite to perform the legal services properly; (iv)
                   the likelihood that the acceptance of this matter will preclude me and others at this
                   firm from other employment; (v) the fees customarily charged in this jurisdiction
                   for similar legal services; (vi) the amount involved and the results sought; (vii) the
                   time limitations imposed by the client or by the circumstances; (viii) the nature and
                   length of the professional relationship with the client; and (ix) the experience,
                   reputation and ability of the lawyer or lawyers performing the services.

         12.       A true and correct copy of the relevant time records from the Dykema Gossett
                   PLLC firm concerning the time worked and expenses incurred to date in connection
                   with this lawsuit is attached hereto as Exhibit 2. The records have been redacted in
                   part to protect matters of privilege and/or confidentiality.

DATED: March 2, 2020                               Respectfully submitted,

                                                   /s/ Victor C. Johnson ________
                                                   VICTOR JOHNSON
                                                   State Bar No. 24029640
                                                   vjohnson@dykema.com
                                                   DYKEMA GOSSETT
                                                   PLLC
                                                   1717 Main Street, Suite
                                                   4200 Dallas, Texas 75201
                                                   Telephone - (214) 462-6400
                                                   Facsimile - (214) 462-6401


DECLARATION OF VICTOR C. JOHNSON ON ATTORNEY’S FEES                                                  PAGE 3
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                                           And

                                           JIM DUNNAM
                                           State Bar No. 06258010
                                           jimdunnam@dunnamlaw.com
                                           ANDREA MEHTA
                                           State Bar No. 24078992
                                           andreamehta@dunnamlaw.com
                                           DUNNAM & DUNNAM LLP
                                           4125 West Waco Drive
                                           Waco, Texas 76710
                                           Telephone (254) 753-6437
                                           Facsimile (254) 753-7434


                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the above and foregoing document has
been sent via the Court’s electronic filing system to all counsel of record on March 2, 2020.


                                           /s/ Victor C. Johnson
                                           VICTOR C. JOHNSON




DECLARATION OF VICTOR C. JOHNSON ON ATTORNEY’S FEES                                    PAGE 4
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             EXHIBIT 1
        Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 7 of 37

                                                                                                          DykEmA
                                                                                                               t
                                                                                                     fl
Victor C. Johnson
Member

Dallas
Comerica Bank Tower
1717 Main Street
Suite 4200
Dallas, TX 75201



                                                 T: 214-462-6477     vjohnson@dykema.com
Areas Of Practice
Intellectual Property
                                                 Victor C. Johnson is a member of the Intellectual Property Practice Group
Intellectual Property Litigation
                                                 in the Dallas, Texas office of Dykema. Mr. Johnson's practice focuses on
Trademark                                        IP litigation including patent, trademark, brand protection and trade secret
Copyright                                        misappropriation, as well as domain name disputes and other forms of
Privacy and Data Security                        unfair competition. He is also experienced in all aspects of complex
                                                 commercial litigation and has significant experience in federal and state
                                                 false claims act litigation. Mr. Johnson also has significant experience
Industries                                       representing clients in whistleblower actions. Mr. Johnson has been the
Dental Service Organizations                     lead attorney on a wide variety of business litigation and intellectual
Industry Group                                   property disputes for companies ranging in size from start-ups to Fortune
Insurance Industry Group                         500 companies.
Insurance Related Litigation                     Immediately prior to joining Dykema, Mr. Johnson was a principal at a
Food & Beverage                                  boutique litigation firm where he headed its IP Litigation and Brand
                                                 Protection Group. He also spent 11 years with a large national intellectual
Bar Admissions                                   property firm.

Texas
Louisiana                                        Representative Matters
                                                 IP CASES
Education
                                                 ProTradeNet LLC v. Predictive Profiles Inc. (WDTX) - successfully
Loyola University New Orleans,                   defended client in week-long trial regarding TM infringement suit
J.D., cum laude
   ●
       Law Review 1996-1998,                     360Mortgage v. Homebridge (WDTX) - successfully defended client in an
       Editor 1997-1998                          week-long trial regarding IP dispute
University of New Mexico, B.A.                   Bose Corp. v. Vertigo Online (NDTX) - infringement action; obtained
                                                 judgment of $1.25 million and permanent injunction.

                                                 BMC Software v. CrabbyHacker.com (SDTX) - infringement action arising
                                                 from the circumvention of measures that controlled access to copyrighted
                                                 material; obtained civil search & seizure and with U.S. Marshalls
                                                 conducted raid to seize evidence; obtained Consent Judgment of $1
                                                 million and Permanent Injunction.

                                                 NDE Inc. v. Rainforest Creations (EDTX) - false advertising and
                                                 misappropriation of business method case arising from the defendants’
                                                 palming off of plaintiff’s works; obtained $4.7 million jury verdict.

                                                 Represented 3Ci in breach of contract and fraud action against another
                                                 national architectural firm. Obtained a jury verdict in excess of $4 million,
                                                 including punitive damages.




                         California   Illinois   Michigan   Minnesota    Texas   Washington, D.C.
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                                                                                                         DykEmA
Victor C. Johnson (Cont.)



Rodriguez v. Dallas Basketball Limited - represented Mark Cuban’s Dallas Mavericks basketball team in class action litigation
seeking more than $100 million in damages. Case settled for less than 2% of claims.

U.S. Risk v. Lighthouse Programs, LLC – represented plaintiff in infringement case that resulted in $5,500,000 jury verdict.
Verdict was listed in the top 40 jury verdicts of 2009 by the Texas Lawyer.

Shaw v. Yahoo!, Microsoft and Real Networks – Obtained summary judgment for Yahoo! in suit alleging that Microsoft’s and
Real Network's multimedia applications, when used in combination with Yahoo!'s streaming media services, infringed the
plaintiff’s patent.

Represented banking client against infringement claims on several patents in the field of electronic check conversion. Case
settled favorably shortly after trial began.

Alcatel USA, Inc. v. Tekelec, Inc. (EDTX) – Obtained a favorable settlement for Alcatel by asserting two patents related to the
routing of query messages by a signal transfer point in a telecommunications network.

National Presort, Inc. v. Bell & Howell Company Postal Systems, Inc. (NDTX) – Obtained an extremely favorable settlement
for Bell & Howell in defense of a patent infringement suit involving mail sorting technology.

Texas Instruments Incorporated v. Intergraph Corporation (EDTX) – Obtained a favorable settlement for TI by asserting three
patents related to computer clock speed control and an intelligent power switch and defending against three patents related
to parallel processing.

Whistleblower Cases

U.S. v. ResCare, Inc. (NDTX) – Whistleblower action under the False Claims Act seeking more than $4.5 billion in damages.
Case settled for less than 0.05 percent of the damages sought by the Government.

U.S. v. Driscoll Children’s Hospital (SDTX) - Obtained summary judgment for a client hospital on allegations of federal False
Claims Act (FCA) violations in a whistleblower action in which the United States had intervened. The United States alleged
that the client committed fraud, violated the FCA, and otherwise obtained overpayments from the government relating to
cost reimbursements from the Texas Medicaid program. Following the grant of summary judgment in favor of the client on
all fraud and FCA claims, the remaining claims settled for substantially less than the projected cost of defense.

State of Texas v. Driscoll Children's Hospital – represented defendant against claims under federal False Claims Act case in a
whistleblower action alleging over $200,000,000 in damages. Case settled for a fraction of amount in controversy; hospital
not required to submit to corporate integrity program.

United States of America, et al. v. Driscoll Children’s Hospital, et al. – represented defendant against claims under False
Claims Act case in a whistleblower action alleging fraud by the hospital in seeking reimbursement by the Texas Medicaid
program. Following summary judgment in favor of the hospital on all False Claims Act and fraud claims, the case settled for
less than 1% of the alleged damages of $6,000,000.

U.S. v. UnitedHealth Group Incorporated (NDTX) - Represented insurance company on allegations of federal False Claims
Act (FCA) violations in a whistleblower action. Conducted internal investigation, responded to document requests, and
presented witnesses to government for interviews. Convinced government to decline intervention and obtained dismissal of
suit.

U.S. v. Louisiana HomeHealth (WDLA) - Represented home-health care agency on allegations of federal False Claims Act
(FCA) violations in a whistleblower action. Conducted internal investigation, responded to document requests and presented
witnesses to government for interviews. Convinced government to decline intervention and obtained dismissal of suit.

U.S. v. University of Texas at Arlington (NDTX) - Represented university on allegations of federal False Claims Act (FCA)
violations in a whistleblower action. Conducted internal investigation, responded to document requests and presented
witnesses to government for interviews. Convinced government to decline intervention and obtained dismissal of suit.

In re Whistleblower (IRS) - represented confidential client as whistleblower of tax fraud to IRS. Client was credited for
providing substantial assistance to the recovery of millions in back taxes and received substantial portion of the tax award.




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                                                                                                        DykEmA
Victor C. Johnson (Cont.)



Seminars & Speeches
Litigating Trade Secrets and Patents: When, Where, Who, Why and Other Questions You Were Afraid to Ask
July 23, 2019
Ethical Interactions with Judges On and Off the Bench, Dallas Bar Association
April 4, 2019
Emerging Issues in Trade Secrets Protection and Litigation
May 15, 2018
Building a Good Defense: Best Practices in Class Action Litigation, Moderator, Consero Corporate Litigation Forum
October 10, 2017
Trade Secrets: Protecting the Company's Crown Jewels in Litigation, Moderator, Consero Corporate Litigation Forum
October 9, 2017
Maximizing the Effectiveness and Impact of a Limited Anti-Counterfeiting Budget, 7th Annual Anti-Counterfeiting & Brand
Protection East Coast
September 28, 2011
Ask the Experts: What Would You Do? 30 Answers in 30 Minutes Anti-Counterfeiting & Brand Protection West Coast
January 26, 2011


Publications
"West Texas Cements Its Place As Patent Hotbed"
February 26, 2020
Law360
"In His 1st Bench Trial, Judge Albright Awards $3.6M In TM Suit"
February 24, 2020
Law360
"3D printing and its implications on copyright law"
May 2016
The Copyright Lawyer
"Third Circuit Expands Octane Fitness Standard to Trademark Cases"
September 25, 2014
SerendIPity
MPHJ Technology Investments LLC v. FTC: Fighting for Patent Owners' Rights in a Tide of Patent Reforms
August 29, 2014
Bloomberg BNA Patent, Trademark & Copyright Journal
"Understanding the Risks Associated With the Use of Virtual Currencies"
August 19, 2014
SerendIPity
"Understanding the Risks Associated With the Use of Virtual Currencies"
August 19, 2014
Association of Corporate Counsel
"Supreme Court Pulls the Plug on Aereo's Streaming TV Service Holding it Illegal"
June 26, 2014
SerendIPity
"The King is Dead - And Overruled"
September 19, 2011
"Fighting Online Counterfeiters at Internet Speed"
December 28, 2010




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                                                                                                       DykEmA
Victor C. Johnson (Cont.)



"New Indictment of In-House Counsel Indicates Enhanced Efforts to Hold Corporate Executives Accountable for Food and
Drug Law Violations"
November 15, 2010


News
Record Attendance at Dykema’s 5th Annual DSO Conference Noted in DSONews
September 13, 2018
Seven Dykema Attorneys Named “Best Lawyers in Dallas” by D Magazine
April 24, 2018
Victor Johnson Quoted in Thomson Reuters Legal Solutions Blog about Patent Venue Appeal
December 21, 2016
Aaron Charfoos, Victor Johnson and Dante Stella Quoted in Inside Counsel
March 4, 2015
Victor Johnson and Zachary Hoard Author Article on Virtual Currencies for Metropolitan Corporate Counsel
December 1, 2014
Dykema Intellectual Property Department Launches Blog
April 2, 2014
Dykema Intellectual Property Department Launches New Blog
March 27, 2014


Memberships & Involvement
State Bar of Texas

American Bar Association Intellectual Property Section

Intellectual Property In-House Counsel Group

Brand Enforcement IP Professionals

Intellectual Property Owners Association, Anti-counterfeiting and Privacy Committee, Member

Dallas Bar Association, Judiciary & Legal Ethics Committee, Member


Awards & Recognition
Recognized by Texas Super Lawyers® for IP Litigation, Civil Litigation: Defense and Business Litigation, 2014-Present

Recognized by DMagazine as a Best Lawyer for Intellectual Property, 2016 & 2018

Recognized by DMagazine in The Best Lawyers Under 40

Named a Rising Star by Texas Monthly

Named a Rising Star by Law & Politics, 2006-2008

Named top trademark litigation practitioner in Texas by World Trademark Review 1000




                             California   Illinois   Michigan   Minnesota   Texas   Washington, D.C.
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                                                                                                            DykEmA
                                                                                                             f-
Amelia H. Marquis
Associate

Dallas                                                                                                  a
Comerica Bank Tower
1717 Main Street
Suite 4200
Dallas, TX 75201



                                                  T: 214-462-6426      amarquis@dykema.com
Areas Of Practice
Litigation
                                                  Amelia Marquis practices general commercial litigation as an associate in
Business & Commercial
                                                  Dykema's Dallas, Texas office. Amelia's primary focus is on matters
Financial Services Litigation –                   relating to financial services and business disputes. Amelia graduated with
Consumer                                          honors from the University of Oklahoma College of Law, and served as an
Government Investigations and                     Articles Editor for the American Indian Law Review. The law review
Corporate Compliance                              selected her published student piece as "Outstanding Comment."

                                                  During law school, Amelia worked for all three branches of the federal
Industries
                                                  government. She interned in Washington, D.C. with the United States
Financial Industry Group                          House Committee on Agriculture and served as a legal extern for the
                                                  United States Department of State in the Office of the Legal Adviser in
Bar Admissions                                    International Claims and Investment Disputes. Amelia also worked as a
                                                  judicial extern for the Honorable Judge Stephen P. Friot in the Western
Texas
                                                  District of Oklahoma.

Court Admissions
                                                  Publications
U.S. District Court, Northern
District of Texas                                 "Biometrics and the Fifth Amendment: A New Frontier"
U.S. District Court, Eastern District             February 2020
of Texas                                          Law Journal Newsletters
U.S. District Court, Western                      Comment, "Sacred Rain Arrow: Honoring the Native American Heritage of
District of Texas                                 the States While Balancing the Citizens' Constitutional Rights"
                                                  38 AM. Indian L.Rev. 501
Education
University of Oklahoma College of                 Memberships & Involvement
Law, J.D., with honors, 2015
                                                  ●   Dallas Bar Association
   ●   Phi Delta Phi Legal Honor
       Society
                                                  ●   Dallas Association of Young Lawyers
   ●   American Indian Law Review,
                                                      ●   Leadership Class of 2016
       Articles Editor, "Outstanding                  ●   Social Committee Member
       Comment"
   ●   Century Scholar
                                                  Community/Civic Activities
Oklahoma Baptist University, B.A.,
cum laude, 2012
                                                  ●   Dallas Pets Alive!




                         California    Illinois   Michigan      Minnesota   Texas    Washington, D.C.
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              EXHIBIT 2
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DykEmA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX
1




                                                                                   DUE UPON RECEIPT


GRAYSON BROWN                                                                      AUGUST 26, 2019
GRAYSON BROWN, EXECUTIVE VP, GENERAL                                               CLIENT-MATTER NO. 118295-000001
COUNSEL & SECRETARY                                                                INVOICE NO. 3277235
NEIGHBORLY
1010 NORTH UNIVERSITY PARKS DRIVE
WACO, TX 76707




FOR PROFESSIONAL SERVICES RENDERED

RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


                            FEES ......................................................................... $   2,993.00


                            INVOICE TOTAL ....................................................... $            2,993.00
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DykEmA
DWYER FRANCHISING, LLC                                                       CLIENT-MATTER NO. 118295-000001
AUGUST 26, 2019                                                              INVOICE NO. 3277235
                                                                             PAGE 2


RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


DATE             ID          DESCRIPTION                                                                                   HOURS
07/10/19        AHM          REVIEW AND ANALYZE FIFTH CIRCUIT PRECEDENT REGARDING CIVIL                                       0.80
                             CONTEMPT FOR VIOLATION OF A PRELIMINARY INJUNCTION.
07/29/19        VCJ          WORK ON MOTION FOR CONTEMPT BRIEF                                                                5.00


TOTAL ATTORNEY & PARALEGAL TIME ......................................................................                        5.80
TOTAL LEGAL FEES .....................................................................................................$   2,993.00
         Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 15 of 37

DykEmA
DWYER FRANCHISING, LLC                         CLIENT-MATTER NO. 118295-000001
AUGUST 26, 2019                                INVOICE NO. 3277235
                                               PAGE 3


                                 BILLING SUMMARY


       ID          TIMEKEEPER                  HOURS        RATE     AMOUNT
       VCJ         VICTOR JOHNSON                 5.00      545.00    2,725.00

       AHM         AMELIA H. MARQUIS               .80      335.00      268.00



                   TOTAL                         5.80                2,993.00
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DykEmA
DWYER FRANCHISING, LLC                                                    CLIENT-MATTER NO. 118295-000001
AUGUST 26, 2019                                                           INVOICE NO. 3277235
                                                                          PAGE 4



                   FEES ......................................................................... $   2,993.00


                   INVOICE TOTAL ....................................................... $            2,993.00




      Mailed Payments:                                                     Payment via ACH
      Dykema Gossett PLLC                                                  Account Name: Dykema General
      Attn: Accounts Receivable                                            Bank: Huntington National Bank
      400 Renaissance Center                                               Bank Address:41 S. High Street (OP47)
      Detroit, MI 48243                                                    City, State, ZIP: Columbus, OH 43215
                                                                           Routing Number: 072403473
                                                                           Account Number: 01388425607
                                                                           Reference _________________ (Invoice #)


      Payment via Domestic Wire                                            Payment via Foreign Wire
      Account Name: Dykema Gossett PLLC                                    Account Name: Dykema Gossett PLLC
      Bank: Huntington National Bank                                       Bank: Huntington National Bank
      Bank Address:41 S. High Street (OP47)                                Bank Address:41 S. High Street (OP47)
      City, State, ZIP: Columbus, OH 43215                                 City, State, ZIP: Columbus, OH 43215
      Routing Number: 044000024                                            Swift: HUNTUS33
      Account Number: 01388425607                                          Routing Number: 044000024
      Reference _________________ (Invoice #)                              Account Number: 01388425607
                                                                           Reference _________________ (Invoice #)
      Dykema's Tax Id Number: XX-XXXXXXX
                 Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 17 of 37


DykEmA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX
1




                                                                                   DUE UPON RECEIPT


GRAYSON BROWN                                                                      SEPTEMBER 17, 2019
GRAYSON BROWN, EXECUTIVE VP, GENERAL                                               CLIENT-MATTER NO. 118295-000001
COUNSEL & SECRETARY                                                                INVOICE NO. 3280776
NEIGHBORLY
1010 NORTH UNIVERSITY PARKS DRIVE
WACO, TX 76707




FOR PROFESSIONAL SERVICES RENDERED

RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


                            FEES ......................................................................... $   19,511.00


                            INVOICE TOTAL ....................................................... $            19,511.00
                 Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 18 of 37

DykEmA
DWYER FRANCHISING, LLC                                                       CLIENT-MATTER NO. 118295-000001
SEPTEMBER 17, 2019                                                           INVOICE NO. 3280776
                                                                             PAGE 2


RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


DATE             ID          DESCRIPTION                                                                                    HOURS
08/05/19        VCJ          WORK ON MEDIATION STATEMENT AND MOTION TO ENFORCE.                                                 5.00
08/06/19        VCJ          WORK ON MEDIATION STATEMENT AND MOTION TO ENFORCE.                                                 5.00
08/06/19        VCJ          REVIEW AND EDIT CLAUSE RE TRADE DRESS.                                                             1.20
08/08/19        VCJ          REVIEW AND EDIT MEDIATION STATEMENT.                                                               1.20
08/11/19        VCJ          PREPARE FOR MEDIATION; DRIVE TO WACO.                                                              2.10
08/12/19        VCJ          PREPARE FOR AND ATTEND MEDIATION; RETURN DRIVE TO DALLAS.                                         10.50
08/13/19        VCJ          RESEARCH FOR, WORK ON, AND EDIT TO MOTION FOR CONTEMPT/ENFORCE.                                    5.00
08/19/19        VCJ          REVIEW EXPERT REPORT OF DR. NORTH TO PREPARE FOR DEPOSITION;                                       1.10
                             CONSULT WITH MR. DUNNAM'S OFFICE RE SAME.
08/20/19        VCJ          REVIEW EXPERT REPORT OF DR. NORTH; ATTEND PREPARATION MEETING                                      4.00
                             WITH DR. NORTH; REVIEW AND EDIT MOTION SUMMARY JUDGEMENT.
08/22/19        VCJ          REVIEW EXPERT REPORT OF DR. NORTH; CONSULT WITH MR. DUNNAM RE                                      0.70
                             POINTS OF REBUTTAL FOR DEPOSITION.


TOTAL ATTORNEY & PARALEGAL TIME ......................................................................                        35.80
TOTAL LEGAL FEES .....................................................................................................$   19,511.00
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DykEmA
DWYER FRANCHISING, LLC                         CLIENT-MATTER NO. 118295-000001
SEPTEMBER 17, 2019                             INVOICE NO. 3280776
                                               PAGE 3


                                BILLING SUMMARY


       ID          TIMEKEEPER                  HOURS        RATE      AMOUNT
       VCJ         VICTOR JOHNSON                35.80      545.00     19,511.00



                   TOTAL                        35.80                19,511.00
          Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 20 of 37

DykEmA
DWYER FRANCHISING, LLC                                                    CLIENT-MATTER NO. 118295-000001
SEPTEMBER 17, 2019                                                        INVOICE NO. 3280776
                                                                          PAGE 4



                   FEES ......................................................................... $   19,511.00


                   INVOICE TOTAL ....................................................... $            19,511.00




      Mailed Payments:                                                     Payment via ACH
      Dykema Gossett PLLC                                                  Account Name: Dykema General
      Attn: Accounts Receivable                                            Bank: Huntington National Bank
      400 Renaissance Center                                               Bank Address:41 S. High Street (OP47)
      Detroit, MI 48243                                                    City, State, ZIP: Columbus, OH 43215
                                                                           Routing Number: 072403473
                                                                           Account Number: 01388425607
                                                                           Reference _________________ (Invoice #)


      Payment via Domestic Wire                                            Payment via Foreign Wire
      Account Name: Dykema Gossett PLLC                                    Account Name: Dykema Gossett PLLC
      Bank: Huntington National Bank                                       Bank: Huntington National Bank
      Bank Address:41 S. High Street (OP47)                                Bank Address:41 S. High Street (OP47)
      City, State, ZIP: Columbus, OH 43215                                 City, State, ZIP: Columbus, OH 43215
      Routing Number: 044000024                                            Swift: HUNTUS33
      Account Number: 01388425607                                          Routing Number: 044000024
      Reference _________________ (Invoice #)                              Account Number: 01388425607
                                                                           Reference _________________ (Invoice #)
      Dykema's Tax Id Number: XX-XXXXXXX
          Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 21 of 37

DykEmA
DWYER FRANCHISING, LLC                                    CLIENT-MATTER NO. 118295-000001
SEPTEMBER 17, 2019                                        INVOICE NO. 3280776
                                                          PAGE 5

                                      STATEMENT OF ACCOUNT


           INVOICE DATE           INVOICE #     AMOUNT         PAYMENT           BALANCE DUE

               08/26/19            3277235         2,993.00               .00                2,993.00

               TOTALS                              2,993.00               .00                2,993.00




      Mailed Payments:                                        Payment via ACH
      Dykema Gossett PLLC                                     Account Name: Dykema General
      Attn: Accounts Receivable                               Bank: Huntington National Bank
      400 Renaissance Center                                  Bank Address:41 S. High Street (OP47)
      Detroit, MI 48243                                       City, State, ZIP: Columbus, OH 43215
                                                              Routing Number: 072403473
                                                              Account Number: 01388425607
                                                              Reference _________________ (Invoice #)


      Payment via Domestic Wire                               Payment via Foreign Wire
      Account Name: Dykema Gossett PLLC                       Account Name: Dykema Gossett PLLC
      Bank: Huntington National Bank                          Bank: Huntington National Bank
      Bank Address:41 S. High Street (OP47)                   Bank Address:41 S. High Street (OP47)
      City, State, ZIP: Columbus, OH 43215                    City, State, ZIP: Columbus, OH 43215
      Routing Number: 044000024                               Swift: HUNTUS33
      Account Number: 01388425607                             Routing Number: 044000024
      Reference _________________ (Invoice #)                 Account Number: 01388425607
                                                              Reference _________________ (Invoice #)
      Dykema's Tax Id Number: XX-XXXXXXX
                   Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 22 of 37




DykEmA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX


                                                                                         DUE UPON RECEIPT


GRAYSON BROWN                                                                            NOVEMBER 13, 2019
NEIGHBORLY                                                                               MATTER #: 118295.000001
1010 NORTH UNIVERSITY PARKS DRIVE                                                        INVOICE #: 3291081
WACO, TX 76707




FOR PROFESSIONAL SERVICES RENDERED


RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


                            FEES                                            $       18,530.00
                            DISBURSEMENTS                                                 3.80
                            INVOICE TOTAL                                   $       18,533.80




                           California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
           Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 23 of 37



DykEMA
DWYER FRANCHISING, LLC                                                          MATTER #: 118295.000001
NOVEMBER 13, 2019                                                               INVOICE #: 3291081
                                                                                PAGE 2

RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


DATE         ID       DESCRIPTION                                                                 HOURS
09/09/19    VCJ       RESEARCH AND WORK ON RESPONSE TO MOTION FOR SUMMARY JUDGMENT                  2.60
                      REGARDING INFRINGEMENT CLAIMS.


09/10/19    VCJ       RESEARCH AND WORK ON RESPONSE TO MOTION FOR SUMMARY JUDGMENT RE               2.90
                      INFRINGEMENT CLAIMS.
09/11/19    VCJ       RESEARCH AND WORK ON RESPONSE TO MOTION TO STRIKE.                            5.50
09/12/19    VCJ       RESEARCH AND WORK ON RESPONSE TO MOTION TO STRIKE; RESEARCH AND               6.30
                      WORK ON RESPONSE TO MOTION FOR SUMMARY JUDGMENT RE INFRINGEMENT
                      CLAIMS.
09/13/19    VCJ       RESEARCH AND WORK ON RESPONSE TO MOTION FOR SUMMARY JUDGMENT RE               8.50
                      INFRINGEMENT CLAIMS.
09/16/19    VCJ       WORK ON RESPONSE TO MOTION TO STRIKE DR. NORTH; WORK ON FILING SAME.          8.20


                      TOTAL HOURS                                                                  34.00



                     TOTAL                                                                     $18,530.00




                  California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
           Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 24 of 37



DykEMA
DWYER FRANCHISING, LLC                                                         MATTER #: 118295.000001
NOVEMBER 13, 2019                                                              INVOICE #: 3291081
                                                                               PAGE 3

                                         BILLING SUMMARY

          ID             TIMEKEEPER                     HOURS         RATES        AMOUNT
          VCJ            VICTOR JOHNSON                   34.00       545.00      18,530.00
                         TOTAL                             34.00                  $18,530.00




                California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
           Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 25 of 37



DykEMA
DWYER FRANCHISING, LLC                                                         MATTER #: 118295.000001
NOVEMBER 13, 2019                                                              INVOICE #: 3291081
                                                                               PAGE 4
                                           DISBURSEMENTS

DATE      DESCRIPTION                                                                          AMOUNT
          PRINTING EXPENSES                                                                        3.80


          TOTAL DISBURSEMENTS                                                                     3.80




                 California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
                   Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 26 of 37




DykEMA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX




                                                                                  E
                                                                                    DUE UPON RECEIPT




                                                                                C
GRAYSON BROWN                                                                       NOVEMBER 13, 2019
NEIGHBORLY                                                                          MATTER #: 118295.000001




                                                                  N
1010 NORTH UNIVERSITY PARKS DRIVE
WACO, TX 76707
                                                                                    INVOICE #: 3291081




                                                                 A
                            FEES                                      $       18,530.00




                                                               T
                            DISBURSEMENTS                                            3.80




                                                         T
                            INVOICE TOTAL                             $       18,533.80




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                           E M
              R
              Mailed Payments:
              Dykema Gossett PLLC
              Attn: Accounts Receivable
                                                                Payment via ACH
                                                                Account Name: Dykema General
                                                                Bank: Huntington National Bank
              400 Renaissance Center                            Bank Address:41 S. High Street (OP47)
              Detroit, MI 48243                                 City, State, ZIP: Columbus, OH 43215
                                                                Routing Number: 072403473
                                                                Account Number: 01388425607
                                                                Reference _________________ (Invoice #)

              Payment via Domestic Wire                         Payment via Foreign Wire
              Account Name: Dykema Gossett PLLC                 Account Name: Dykema Gossett PLLC
              Bank: Huntington National Bank                    Bank: Huntington National Bank
              Bank Address:41 S. High Street (OP47)             Bank Address: 41 S. High Street (OP47)
              City, State, ZIP: Columbus, OH 43215              City, State, ZIP: Columbus, OH 43215
              Routing Number: 044000024                         Swift: HUNTUS33
              Account Number: 01388425607                       Routing Number: 044000024
              Reference _________________ (Invoice #)           Account Number: 01388425607
                                                                Reference _________________ (Invoice #)
              Dykema's Tax Id Number: XX-XXXXXXX
                   Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 27 of 37




DykEMA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX



GRAYSON BROWN
NEIGHBORLY
1010 NORTH UNIVERSITY PARKS DRIVE
WACO, TX 76707

                                                           STATEMENT OF ACCOUNT
                                                           DWYER FRANCHISING, LLC

                                                                                    Account Balance As Of: November 13, 2019
                                                                                            Billing Attorney: VICTOR JOHNSON
                                                                                              Last Payment: December 6, 2019

                                  Our Records Indicate the Following Invoices are Outstanding

MATTER ID: 118295.000001 PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216
Invoice                         Date                             Original Balance               Payments        Current Balance
3305743                         01/29/2020                              3,488.00                      0.00             3,488.00

                                Total                                   3,488.00                     0.00             3,488.00


                   Current                            31-60                61-90                  91-120             OVER 120
                      0.00                             0.00                 0.00                    0.00                 0.00

PLEASE INCLUDE THIS STATEMENT AND REMIT TO:                                         FOR INQUIRIES, PLEASE CONTACT
Dykema Gossett PLLC                                                                 Angelica Ballesteros
Attn: Accounts Receivable                                                           Accounts Receivable Specialist
400 Renaissance Center                                                              210-554-5228
Detroit, MI 48243                                                                   ABallesteros@dykema.com
EIN# XX-XXXXXXX




                           California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
                   Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 28 of 37




DykEmA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX


                                                                                         DUE UPON RECEIPT


GRAYSON BROWN                                                                            NOVEMBER 13, 2019
NEIGHBORLY                                                                               MATTER #: 118295.000001
1010 NORTH UNIVERSITY PARKS DRIVE                                                        INVOICE #: 3291287
WACO, TX 76707




FOR PROFESSIONAL SERVICES RENDERED


RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


                            FEES                                            $       39,676.00
                            DISBURSEMENTS                                              517.24
                            INVOICE TOTAL                                   $       40,193.24




                           California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
           Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 29 of 37



DykEMA
DWYER FRANCHISING, LLC                                                            MATTER #: 118295.000001
NOVEMBER 13, 2019                                                                 INVOICE #: 3291287
                                                                                  PAGE 2

RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


DATE         ID       DESCRIPTION                                                                   HOURS
10/01/19    VCJ       WORK ON DRAFT FINDINGS OF FACT AND CONCLUSIONS OF LAW; WORK ON                  2.30
                      EXHIBITS FOR IP CLAIMS; CONSULT WITH CO-COUNSEL ON SAME.


10/03/19    VCJ       WORK ON PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW.                       2.70


10/04/19    VCJ       WROK ON PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW; CONSULT               6.50
                      WITH CO-COUNSEL ON SAME; WORK ON EXHIBIT LIST FOR IP CLAIMS.
10/14/19    VCJ       WORK ON TRIAL PREPARATIONS.                                                     4.20
10/16/19    VCJ       WORK ON TRIAL PREPERATOINS                                                      2.40
10/17/19    VCJ       WORK ON TRIAL PREPARATIONS.                                                     3.80
10/18/19    VCJ       PREPARE FOR TRIAL.                                                              5.30
10/18/19    VCJ       WORK ON TRIAL PREPARATIONS.                                                     4.60
10/19/19    VCJ       WORK ON TRIAL PREPARATIONS.                                                     3.80
10/20/19    VCJ       PREPARE FOR TRIAL; TRIP TO WACO.                                                9.20


10/21/19    VCJ       PREPARE FOR AND ATTEND TRIAL DAY 1; PREPARE FOR DAY TWO OF TRIAL.              15.40
10/29/19    VCJ       PREPARE FOR AND ATTEND TRIAL; RETURN TRIP TO DALLAS.                           12.60


                      TOTAL HOURS                                                                    72.80



                     TOTAL                                                                       $39,676.00




                  California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
           Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 30 of 37



DykEMA
DWYER FRANCHISING, LLC                                                         MATTER #: 118295.000001
NOVEMBER 13, 2019                                                              INVOICE #: 3291287
                                                                               PAGE 3

                                         BILLING SUMMARY

          ID             TIMEKEEPER                     HOURS         RATES        AMOUNT
          VCJ            VICTOR JOHNSON                   72.80       545.00      39,676.00
                         TOTAL                             72.80                  $39,676.00




                California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
            Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 31 of 37



DykEMA
DWYER FRANCHISING, LLC                                                          MATTER #: 118295.000001
NOVEMBER 13, 2019                                                               INVOICE #: 3291287
                                                                                PAGE 4
                                             DISBURSEMENTS

DATE       DESCRIPTION                                                                          AMOUNT
10/22/19   VENDOR: VICTOR JOHNSON INVOICE#: 49045 DATE: 10/22/2019                                372.24
           |HOTEL STAY DURING TRIAL
10/22/19   VENDOR: VICTOR JOHNSON INVOICE#: 49045 DATE: 10/22/2019                                145.00
           |MILEAGE TO/FROM WACO FOR TRIAL


           TOTAL DISBURSEMENTS                                                                   517.24




                  California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
                   Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 32 of 37




DykEMA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX




                                                                                  E
                                                                                    DUE UPON RECEIPT




                                                                                C
GRAYSON BROWN                                                                       NOVEMBER 13, 2019
NEIGHBORLY                                                                          MATTER #: 118295.000001




                                                                  N
1010 NORTH UNIVERSITY PARKS DRIVE
WACO, TX 76707
                                                                                    INVOICE #: 3291287




                                                                 A
                            FEES                                      $       39,676.00




                                                               T
                            DISBURSEMENTS                                         517.24




                                                         T
                            INVOICE TOTAL                             $       40,193.24




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              R
              Mailed Payments:
              Dykema Gossett PLLC
              Attn: Accounts Receivable
                                                                Payment via ACH
                                                                Account Name: Dykema General
                                                                Bank: Huntington National Bank
              400 Renaissance Center                            Bank Address:41 S. High Street (OP47)
              Detroit, MI 48243                                 City, State, ZIP: Columbus, OH 43215
                                                                Routing Number: 072403473
                                                                Account Number: 01388425607
                                                                Reference _________________ (Invoice #)

              Payment via Domestic Wire                         Payment via Foreign Wire
              Account Name: Dykema Gossett PLLC                 Account Name: Dykema Gossett PLLC
              Bank: Huntington National Bank                    Bank: Huntington National Bank
              Bank Address:41 S. High Street (OP47)             Bank Address: 41 S. High Street (OP47)
              City, State, ZIP: Columbus, OH 43215              City, State, ZIP: Columbus, OH 43215
              Routing Number: 044000024                         Swift: HUNTUS33
              Account Number: 01388425607                       Routing Number: 044000024
              Reference _________________ (Invoice #)           Account Number: 01388425607
                                                                Reference _________________ (Invoice #)
              Dykema's Tax Id Number: XX-XXXXXXX
                   Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 33 of 37




DykEMA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX



GRAYSON BROWN
NEIGHBORLY
1010 NORTH UNIVERSITY PARKS DRIVE
WACO, TX 76707

                                                           STATEMENT OF ACCOUNT
                                                           DWYER FRANCHISING, LLC

                                                                                    Account Balance As Of: November 13, 2019
                                                                                            Billing Attorney: VICTOR JOHNSON
                                                                                              Last Payment: December 6, 2019

                                  Our Records Indicate the Following Invoices are Outstanding

MATTER ID: 118295.000001 PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216
Invoice                         Date                             Original Balance               Payments        Current Balance
3305743                         01/29/2020                              3,488.00                      0.00             3,488.00

                                Total                                   3,488.00                     0.00             3,488.00


                   Current                            31-60                61-90                  91-120             OVER 120
                      0.00                             0.00                 0.00                    0.00                 0.00

PLEASE INCLUDE THIS STATEMENT AND REMIT TO:                                         FOR INQUIRIES, PLEASE CONTACT
Dykema Gossett PLLC                                                                 Angelica Ballesteros
Attn: Accounts Receivable                                                           Accounts Receivable Specialist
400 Renaissance Center                                                              210-554-5228
Detroit, MI 48243                                                                   ABallesteros@dykema.com
EIN# XX-XXXXXXX




                           California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
                   Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 34 of 37




DykEmA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX


                                                                                         DUE UPON RECEIPT


GRAYSON BROWN                                                                            JANUARY 29, 2020
NEIGHBORLY                                                                               MATTER #: 118295.000001
1010 NORTH UNIVERSITY PARKS DRIVE                                                        INVOICE #: 3305743
WACO, TX 76707




FOR PROFESSIONAL SERVICES RENDERED


RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


                            FEES                                            $        3,488.00
                            INVOICE TOTAL                                   $        3,488.00




                           California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
           Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 35 of 37



DykEMA
DWYER FRANCHISING, LLC                                                          MATTER #: 118295.000001
JANUARY 29, 2020                                                                INVOICE #: 3305743
                                                                                PAGE 2

RE: PROTRADENET / PREDICTIVE PROFILES LAWSUIT - 2019-00216


DATE         ID       DESCRIPTION                                                                 HOURS
12/05/19    VCJ       REVIEW TRIAL TRANSCRIPT AND UPDATE FINDINGS OF FACT AND CONCLUSIONS OF        6.40
                      LAW


                      TOTAL HOURS                                                                   6.40



                     TOTAL                                                                      $3,488.00




                  California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
           Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 36 of 37



DykEMA
DWYER FRANCHISING, LLC                                                         MATTER #: 118295.000001
JANUARY 29, 2020                                                               INVOICE #: 3305743
                                                                               PAGE 3

                                         BILLING SUMMARY

          ID             TIMEKEEPER                     HOURS         RATES        AMOUNT
          VCJ            VICTOR JOHNSON                    6.40       545.00        3,488.00
                         TOTAL                              6.40                   $3,488.00




                California | Illinois | Michigan | Minnesota | Texas | Washington, D.C.
                   Case 6:18-cv-00038-ADA Document 121-2 Filed 03/02/20 Page 37 of 37




DykEMA
400 Renaissance Center ▪ Detroit, MI 48243 ▪ EIN# XX-XXXXXXX




                                                                                  E
                                                                                    DUE UPON RECEIPT




                                                                                C
GRAYSON BROWN                                                                       JANUARY 29, 2020
NEIGHBORLY                                                                          MATTER #: 118295.000001




                                                                  N
1010 NORTH UNIVERSITY PARKS DRIVE
WACO, TX 76707
                                                                                    INVOICE #: 3305743




                                                                 A
                            FEES                                      $         3,488.00




                                                               T
                            INVOICE TOTAL                             $         3,488.00




                                                       I T
                           E M
              R
              Mailed Payments:
              Dykema Gossett PLLC
              Attn: Accounts Receivable
                                                                Payment via ACH
                                                                Account Name: Dykema General
                                                                Bank: Huntington National Bank
              400 Renaissance Center                            Bank Address:41 S. High Street (OP47)
              Detroit, MI 48243                                 City, State, ZIP: Columbus, OH 43215
                                                                Routing Number: 072403473
                                                                Account Number: 01388425607
                                                                Reference _________________ (Invoice #)

              Payment via Domestic Wire                         Payment via Foreign Wire
              Account Name: Dykema Gossett PLLC                 Account Name: Dykema Gossett PLLC
              Bank: Huntington National Bank                    Bank: Huntington National Bank
              Bank Address:41 S. High Street (OP47)             Bank Address: 41 S. High Street (OP47)
              City, State, ZIP: Columbus, OH 43215              City, State, ZIP: Columbus, OH 43215
              Routing Number: 044000024                         Swift: HUNTUS33
              Account Number: 01388425607                       Routing Number: 044000024
              Reference _________________ (Invoice #)           Account Number: 01388425607
                                                                Reference _________________ (Invoice #)
              Dykema's Tax Id Number: XX-XXXXXXX
